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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 05-60985-CIV-Graham/O’Sullivan
ULYSSES J. HUDSON,
Plaintiff,

V.

MiCHAEL CHERToFF,
as Secretary of the United States
Department of Homeland Security,

Defendant
/

PLAINTIFF’S VERIFIED MOTION FOR AWARD OF ATTORNEYS’ FEES
AND COSTS. AND INCORPORATED MEMORANDUM OF LAW

Plaintiff, Ulysses J. Hudson (“Mr. Hudson”), through counsel, hereby petitions the Court,
pursuant to 29 U.S.C. § 794a, 42 U.S.C. § 2000-5(k), Fed. R.» Civ. P. 54(d) and S.D. Fla. L.R.
7.3(A), for an award of attorneys’ fees of $482,842.44, related out-of-pocket costs of $20,684.36,
and taxable costs in the amount of $15,588.68, for a total of $519,115.48. This request reflects
fees and costs incurred through April 30, 2007, and Mr. Hudson reserves the right to supplement
this Petition to seek additional fees and costs incurred during the remainder of the litigation,
including those incurred litigating Mr. Hudson’s entitlement to attorneys’ fees and costs. In
support of this petition, Mr. Hudson files the following memorandum of law and detailed
supporting declarations and factual materials.

I. INTRODUCTION

Mr. Hudson seeks to recover attorneys’ fees and costs arising out of this litigation
pursuant to the Court’s April 2, 2007 Final Judgment [D.E. 260] awarding Mr. Hudson
$713,343.54 in damages (plus interest) against Defendant Michael Chertoff (“Defendant”). Mr.

Hudson successfully sued Defendant for discrimination under the Rehabilitation Act of 1973, 29

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U.S.C. § 701 et seq., and for retaliation under Title VII of the Civil Rights Act of 1964, 42
U.S.C. § 2000 et seq. He therefore is entitled to attorneys’ fees pursuant to 29 U.S.C. § 794a and
42 U.S.C. § 2000-5(k), and taxable costs pursuant to 28 U.S.C. § 1920. l

The attorneys’ fees and costs sought by Mr. Hudson are reasonable and arose from legal
work that led to a remarkable result in the case. As will be demonstrated in more detail below,
the hourly rates of Mr. Hudson’s attorneys _ including attorneys from Hogan & Hartson LLP
(“Hogan & Hartson”), who represented Mr. Hudson at trial, and attorneys Donna Ballman (“Ms.
Ballman”) and Mark Berkowitz (“Mr. Berkowitz”), Who represented Mr. Hudson in pre-trial
administrative proceedings that Mr. Hudson was required by law to pursue before filing this case
(the “EEOC Proceedings”) - are consistent with or below the rates for similar services by
attorneys of Similar skill, experience and reputation. Moreover, the number of hours worked by
Mr. Hudson’s attorneys is reasonable.

Mr. Hudson’S counsel at Hogan & Hartson undertook representation of Mr. Hudson
through the Southern District of Florida’s Volunteer Lawyers Project (the “VLP”) on the eve of
the District Court’s original June 12, 2006, trial calendar. The amount of work needed to prepare
in a short period of time was significant Within a five-month period, Hogan & Hartson defeated
Defendant’s summary judgment motion; reviewed thousands of documents; filed a handful of
pretrial motions and defended against numerous other pretrial motions; conducted expert
discovery; and prepared for and presented Mr. Hudson’s case at a five-day jury trial held before
this Court commencing on November l, 2006. Notably, there were 27 witnesses on the parties’
trial witness list, and 17 witnesses testified at trial. There also were 207 exhibits on the parties’
trial exhibit lists. The jury awarded Mr. Hudson $2.5 million on all of his claims. In the six
months subsequent to trial, Hogan & Hartson then responded and argued in defense of numerous

post-trial motions filed by Defendant.

Mr. Hudson now seeks $2,036.95 in out-of-pocket expenses and $6,565.46 in taxable l

costs that he personally incurred when he was litigating the case pro se prior to Hogan &

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Hartson’s appearance on his behalf. Mr. Hudson also seeks 310,000 in attorneys’ fees he paid in
late 2004 and early 2005 to Ms. Ballman, and $1,000 in attorneys’ fees he paid to Mr. Berkowitz
in October 2002. Mr. Hudson also seeks $471,842.44 in attorneys fees, $18,647.41 in out-of-
pocket expenses and $9,023.22 in taxable costs incurred by Hogan & Hartson during its
representation of Mr. Hudson. As the matter was referred to Hogan & Hartson through the VLP,
25% ($117,960.61) of Hogan & Hartson’s fees will be given to the VLP as required by the
agreement between those two parties, which is attached as Exhibit 1. The remainder of Hogan
& Hartson’s fees, expenses and costs will go to the firm’s Community Services Department
(“C SD Department”), which ibnds other pro bono efforts like this one.l

At all times during its representation of Mr. Hudson, Hogan & Hartson and its attorneys
made a conscious effort to minimize the amount of attorneys’ fees, expenses and costs in this
case. Assignments, projects and motions were divided between the three mid- to senior-level
associates who tried the case, Maria Eugenia Ramirez (“Ms. Ramirez”), Brian Lemer (“Mr.
Lerner”) and Jason Kellogg (“Mr. Kellogg”). Hogan & Hartson partner Mark Cheskin (“Mr.
Cheskin”), who also tried the case, supervised their efforts. With the exception of a
comprehensive strategy meeting held on October 13, 2006 and a handful of other crucial strategy
meetings, trial preparation meetings and court hearings, Hogan & Hartson’s attorneys did not
submit multiple billing entries for single events.

Likewise, with the exception of instances in which Mr. Cheskin supervised or reviewed
the work of Ms. Ramirez, Mr. Lemer and Mr. Kellogg, Mr. Hudson is not seeking fees relating
to one attorney’s review of another attorney’s work or similar duplication of efforts. Moreover,
although 15 Hogan & Hartson timekeepers billed time to this case, Mr. Hudson seeks only those

fees associated with the four attorneys who tried the case and the paralegal who assisted them at

 

l Hogan & Hartson devoted approximately 90,000 hours in 2005 to pro bono matters
throughout the country. In 2006, Hogan & Hartson’s Florida-based lawyers devoted more than
4,300 pro bono hours and received the Chief Justice’s Law Firm Commendation from the
Supreme Court of Florida in January 2007.

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trial, Erick Rodriguez (“Mr. Rodriguez”). Hogan & Hartson has written off a total of $64,013.49
in fees relating to work by non-trial counsel, multiple billing entries for single events and Where
one attorney reviewed another’s work. In addition, Mr. Rodriguez’s fees have been reduced so
as not to reflect 15.5 hours ($2,042.13) in Work he undertook to organize the file prior to this
Court’s September 20, 2006 status conference

Finally, Mr. Hudson does not seek fees at the full, standard rates of Hogan & Hartson’s
attomeys. Rather, Mr. Hudson seeks only the discounted fee (by 15%) that Hogan & Hartson
charges its not-for-profit clients (a total of $94,562.81). Including write-offs for multiple time
entries, time for non-trial counsel and the 15% fee reduction, Mr. Hudson, through counsel, has
significantly written-off and discounted the fees sought by more than 25% ($158,576.31).

The billing records and other documentation supporting this Motion are attached to the
Declaration of Brian L. Lerner (the “Lerner Declaration”), which is attached hereto as Exhibit 2,
the Declaration of Donna Ballman (the “Ballman Declaration”), which is attached hereto as
Exhibit 3, and the Declaration of Mark Berkowitz (the “Berkowitz Declaration”), which is
attached hereto as Exhibit 4. The reasonableness of the attorneys’ fees and costs sought by Mr.
Hudson is supported by the Declaration of Neil Chonin (the “Chonin Declaration”) which is
attached hereto as Exhibit 5. The costs incurred by Mr. Hudson while proceeding pro se are
supported by the Hudson Declaration attached as Exhibit 6. Mr. Hudson’s agreement with
Hogan & Hartson regarding that firm’s representation of him is attached as Exhibit 7 .

II. LEGAL SERVICES PERFORMED

The professional services rendered by Mr. Hudson’s counsel fall into the following
general categories: analysis of the case and defense of Defendant’s summary judgment motion;
pretrial motion practice; expert witness discovery; trial preparation; trial; and post-trial motions.
Mr. Hudson’s attorneys’ fee claim includes attorneys’ fees and costs arising out of his pre-suit

EEOC Proceedings. A thorough description of these categories follows.

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A. Inception of the Case and Appearance of Hogan & Hartson

On June 20, 2005, Mr. Hudson filed this lawsuit against Defendant alleging, among other
things, that his former employer discriminated and retaliated against him in violation of Title VII
and the Rehabilitation Act. [D.E. l]. Prior to and after filing his Complaint, Mr. Hudson
contacted about 14 attorneys regarding his case. (Hudson Decl. jj 10). He also met with two
other law firms referred to him by the VLP. (Id.). For a variety of reasons, no one took his case.
(Id.). They told him, among other things, that the case was too difficult or complex; that the case
was not profitable; that a conflict of interest existed; that time constraints prevented them from
representing him; that they Would have preferred to have the case from its inception; and that
they did not want to litigate against the federal government (Id.).

On September l4, 2005, Mr. Hudson filed an Amended Complaint adding five new
counts. [D.E. 19]. Both Mr. Hudson’s Complaint and Amended Complaint were filed pro se.
While proceeding pro se, Mr. Hudson incurred the costs of filing and defending numerous
motions. He also incurred costs associated with conducting a handful of depositions, including
the deposition of Gary Lang (“Mr. Lang”), Chief of Staff for the United States Immigration and
Customs Enforcement agency, in Washington D.C. The parties attended an unsuccessful
mediation on April 25, 2006.

The case was set on the District Court’s two-week trial calendar commencing June 12,
2006. [D.E. 30]. On June 2, 2006, Defendant filed its Third Corrected Motion for Summary
Judgment (the “Summary Judgment Motion”). [D.E. 92].

In early June 2006, Hogan & Hartson, through the VLP, appeared on Mr. Hudson’s
behalf. The District Court removed the case from its June 12, 2006, calendar. On July 20, 2006,
a second unsuccessful mediation was held.

B. Response to Summary Judgment Motion

When Hogan & Hartson appeared at the calendar call in early 2006, the Court ordered

Mr. Hudson to submit a response in opposition to the Summary Judgment Motion. Mr.

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Hudson’s attorneys worked diligently to familiarize themselves with the case and file a response
within a relatively short timeframe. [D.E. 108]. This included poring over thousands of
documents, reading numerous deposition and trial transcripts from Mr. Hudson’s first trial,
analyzing the Amended Complaint’s 10 counts2 and researching and drafting arResponse that
ultimately defeated the Summary Judgment Motion. [D.E. 125]. Mr. Lerner was primarily
responsible for Mr. Hudson’s Response to the Summary Judgment Motion.

C. Pretrial Motions

Mr. Hudson’s attorneys spent considerable time filing key pretrial motions as well as
responding to pretrial motions filed by Defendant. Days prior to being contacted by Hogan &
Hartson, Mr. Hudson filed a Notice waiving his right to a jury trial. [D.E. 83]. On July 14,
2006, Mr. Hudson’s counsel filed a Motion to Withdraw Mr. Hudson’s Waiver. [D.E. 102].
This motion was handled primarily by Mr. Kellogg. The District Court granted the motion and
referred the case to this Court for a specially set trial. [D.E. 126].

On October 3, 2006, Mr. Hudson filed his Motion in Limine to Exclude Evidence. [D.E.
132]. Because the motion in limine raised two discrete issues, Mr. Kellogg researched, drafted
and argued one of the issues and Ms. Ramirez researched, drafted and argued the other.

Mr. Hudson’s attorneys also responded to four motions in limine filed by Defendant
seeking (i) to exclude evidence relating to matters concerning a previous lawsuit filed by Mr.
Hudson (the “Hua’son 1 Lawsuit”) [D.E. 133]; (ii) to exclude testimony of one of Mr. Hudson’s
expert witnesses, Dr. George Wallace-Barnhill (“Dr. Wallace-Barnhill”) [D.E. 134]; (iii) to limit
testimony of another expert witness, Dr. Douglas Lanes (“Dr. Lanes”) [D.E. 136]; and (iv) to
exclude the testimony of witnesses Frank Figueroa and William Roppolo [D.E. 139].

Ms. Ramirez Was principally responsible for researching and drafting Mr. Hudson’s

response to Defendant’s motion in limine regarding the Hudson I lawsuit, as she already was

 

2 After counsel reviewed the claims in his Amended Complaint, Mr. Hudson voluntarily
dismissed his claims for violation of the First and Fourteenth Amendments in a good-faith effort
to streamline the issues for trial. [D.E. 101]. 1

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handling a similar issue for a motion in limine that Mr. Hudson filed on this particular issue.
[D.E. 145]. Ms. Ramirez also researched and drafted Mr. Hudson’s response to the Dr. Wallace-
Barnhill motion in limine. [D.E. 144]. Mr. Kellogg researched and drafted Mr. Hudson’s
response to the Dr. Lanes motion in limine. [D.E. 146]. And Mr. Lerner researched and drafted
Mr. Hudson’s response to the Figueroa/Roppolo motion in limine. [D.E. 147].

Mr. Hudson’s counsel also responded to a motion filed by Defendant to bifurcate the trial
and exclude any reference at trial to back pay and front pay damages. [D.E. 135]. Mr. Kellogg
researched, drafted and argued Mr. Hudson’s response. [D.E. 143].

Other necessary pretrial papers filed by Mr. Hudson’s counsel included Proposed Jury
Instructions (handled by Mr. Lerner) [D.E. 150] and Proposed Voir Dire Questions (handled by
Mr. Kellogg) [D.E. 151], as well as a Joint Pretrial Stipulation filed jointly with Defendant
(handled by Mr. Lerner) [D.E. 138].

D. ' Expert Witness Discoverv

Following a status conference held September 20, 2006, Mr. Hudson had 12 days,
through October 2, 2006, to retain an expert witness on damages and issue an expert report.
[D.E. 130]. Mr. Hudson retained Antonio Argiz (“l\/Ir. Argiz”) of Morrison, Brown, Argiz and
Farra, who quickly analyzed a significant amount of financial information and timely issued a
report. Mr. Hudson’s counsel coordinated the production of documents in response to
Defendant’s Subpoena Duces Tecum of Mr. Argiz, and defended Mr. Argiz’s deposition on
October l7, 2006. Mr. Hudson’s counsel also issued a Subpoena Duces Tecum on Defendant’s
rebuttal expert, Michael Piette (“Mr. Piette”), and deposed Mr. Piette on October 23, 2006.
Expert discovery issues were handled principally by Mr. Kellogg.

E. mal

Although the preparation and presentation of Mr. Hudson’s claims at trial generally was a
collaborative effort, trial witness responsibilities were divided among trial counsel. Each

attorney was given exclusive responsibility for examining a portion of the 17 Witnesses that

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appeared at trial (and the many that were on Defendant’s witness list who ultimately did not
testify). Mr. Lerner, Ms. Ramirez and Mr. Kellogg ultimately handled five trial witnesses each,
and Mr. Cheskin handled two trial witnesses. Mr. Hudson’s counsel also divided responsibility
for voir dire (Mr. Kellogg), opening statement (Ms. Ramirez) and closing argument (Mr. Lerner).
Although Mr. Hudson’s counsel had a handful of collaborative sessions on trial strategy and
presentation, the majority of all trial preparation and execution was performed individually in a
manner that prevented the accumulation of duplicative attorneys’ fee entries.

F. Post-trial Motions

Shortly after trial, Mr. Hudson tendered a settlement offer to Defendant seeking to settle
the amount of Mr. Hudson’s damages, attorneys’ fees and costs and avoid post-trial litigation.
Defendant did not respond.

Mr. Hudson’s counsel spent a significant amount of time responding to post-trial motions
filed by Defendant. On November 21, 2006, Defendant filed three post-trial motions: (i) a
Motion for Judgment as a Matter of Law and to Set Aside the Jury Verdict or Motion for a New
Trial (the “JML/New Trial Motion”) [D.E. 209]; (ii) a Motion to Set Aside the Verdict or
Receive a New Trial on Compensatory Damages not to Exceed S300,000 (the “Remittitur
Motion”) [D.E. 210]; and (iii) a Motion for Summary Judgment and/or Final Judgment on
Plaintiff’s Front Pay and Back Pay Awards (the “Front Pay/Back Pay Motion”) [D.E. 211].
Responsibility for researching, drafting and arguing Mr. Hudson’s responses to Defendant’s
motions was divided among Mr. Lerner (Remittitur Motion) [D.E. 217]; Ms. Ramirez (the
JML/New Trial Motion) [D.E. 216]; and Mr. Kellogg (the Front Pay/Back Pay Motion) [D.E.
218]. The parties argued these motions at a hearing before this Court on December 12, 2006.

On January 11, 2007, Mr. Hudson filed a Motion for Judgment to lnclude Injunctive
Relief, which was handled by Mr. Lerner. [D.E. 231]. Mr. Hudson also filed a Reply in support
of that motion. [D.E. 241]. During post-trial briefings, an issue also arose regarding Mr.

Hudson’s entitlement to pre- and post-judgment interest Defendant initially maintained that Mr.

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Hudson had no entitlement to any pre- and post-judgment interest as the U.S. Government was
immune. Both sides filed position papers, With Defendant eventually withdrawing a number of
its arguments, and the Court entering a ruling on the remaining disputed issues. [D.E. 249, 251].

G. Prior Administrative Proceedings

Prior to filing this lawsuit, Mr. Hudson filed three administrative complaints with the
Equal Employment Opportunity Commission that relate to this lawsuit. (Hudson Decl. 11 4). The
first, Case No. 02-2394, alleged harassment by Mr. Hudson’s boss, Kimberly Duff, and
challenged his transfer back to Miami. (Id.; Berkowitz Decl. 11 4). These ultimately became
crucial allegations in this lawsuit, Mr. Hudson paid Mr. Berkowitz a $l,000 retainer for legal
services related to Case No. 02-2394. (Hudson Decl. 11 4; Berkowitz Decl. 11 6)

In 2003, Mr. Hudson filed EEOC Proceeding 03-2487T, Which involved Mr. Hudson’s
allegations that Defendant improperly passed over Mr. Hudson for Intelligence Research
Specialist openings in Ft. Lauderdale, and that Defendant wrongly penalized Mr. Hudson for
alleged misuse of his government credit card. (Hudson Decl. 11 5). The former issue was integral
to Mr. Hudson’s claims in this case, and the latter was presented as a defense by Defendant at
trial. In September 2004, Mr. Hudson hired Ms. Ballman to represent him in Proceeding 03-
2487T, paying her a 310,000 retainer. (Id.; Ballman Decl. 11 6). From September 13, 2004
through March 9, 2005, when the retainer was exhausted, Ms. Ballman conducted seven
depositions, (Ballman Decl. 11 7), each of which was helpful to Hogan & Hartson in preparing for
trial. (Lerner Decl. 11 15). Some Were used to examine or cross-examine trial witnesses,
including Dr. Lanes, Jesus Torres and Robbin Hunter. (Ia'.).

In mid-2005, soon after Mr. Hudson Was terminated by Defendant, he filed EE()C
Proceeding ICE-05-E228K, alleging that the termination was discriminatory and retaliatory.
(Hudson Decl. 11 6). These allegations became an important part of this lawsuit in September

2005, as part of Mr. Hudson’s Amended Complaint. [D.E. 19].

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III. MEMORANDUM OF LAW

A. Mr. Hudson Is Entitled to His Reasonable Attornevs’ Fees and Costs

Mr. Hudson prevailed on his Rehabilitation Act claims and his retaliation claims under
Title VII. He is therefore entitled to his attorneys’ fees andexpert witness fees under 42 U.S.C.
§ 2000e-5(k) (Title VII attorneys’ fees and expert fees); 29 U.S.C. § 794a (Rehabilitation Act
attorneys’ fees); and 28 U.S.C. § 1920 (costs). In the Title VII context, “[a] prevailing plaintiff
‘ordinarily is to be awarded attomeys’ fees in all but special circumstances.”’ N.Y. Gaslight
Club, Inc. v. Carey, 447 U.S. 54, 63 (1980) (citing Christianburg Garment C0. v. EEOC, 434
U.S. 412) (1978)). Moreover, an attorneys’ fees award “should include reasonable out-of-pocket
expenditures of the attorney beyond normal overhead.” Allen v. Freemcm, 122 F.R.D. 589, 590
(S.D. Fla. 1988) (citing Dowdell v. Cily opropka, 698 F.2d 1181, 1191-92 (1 lth Cir. 1982)).

Mr. Hudson seeks to recover $471,842.44 in attorneys’ fees and paralegal fees,
$18,647.41 in out-of-pocket expenses and $9,023.22 in_taxable costs incurred by Hogan &
Hartson from June 6, 2006 through April 30, 2007. Mr. Hudson also seeks to recover $2,035.95
in out-of-pocket expenses and $6,565.46 in taxable costs he incurred prior to Hogan & Hartson’s
appearance in this case and during the EEOC Proceedings, $10,000 in attorneys’ fees he spent to
hire Ms. Ballman in EEOC Proceeding 03-2487T from September 13, 2004 through March 9,
2005, and $1,000 to hire Mr. Berkowitz in EEOC Proceeding 02-2394 in 2002. See Mammano
v. Pittston Co., 792 F.2d 1242, 1245 (4th Cir. 1986) (“Fees for services performed at the
administrative level are clearly available if the plaintiff eventually prevails.”) (citing N. Y.
Gaslz`ghl‘, Inc., 447 U.S. at 61-63).

In arriving at these figures, Mr. Hudson and his counsel employed the “lodestar” method
of determining the amount of a reasonable attorneys’ fee award. The lodestar method produces
an objective estimate of the value of the attorneys’ services by multiplying the attorneys’

reasonable hourly rate by the number of hours the attorneys Worked on the matter. See Norman

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v. HousingAuth. of Momgomerjy, 836 F.2d 1292, 1299 (l lth Cir. 1988).3
1. The Hourly Rates Charged by Mr. Hudson’s Counsel Are Reasonable

A reasonable hourly rate is “the prevailing market rate in the relevant legal community
for similar services by lawyers of reasonably comparable skills, experience and reputation.” Id.
When determining the reasonable hourly rate, the courts may consider both direct evidence of
charges by lawyers under similar circumstances or opinion evidence of a party qualified to
render such an opinion. Id. The Court can serve as its own expert and may make decisions
based on its own knowledge and experience in this area. Id. at 1303. In addition, the Court may
consider the amount in controversy and the results obtained when evaluating a reasonable rate.
Schafler v. Faz'rway Park Condo. Ass ’n, 324 F. Supp. 2d 1302, 1313 (S.D. Fla. 2004).

As set forth in the Lerner Declaration attached as Exhibit 2 and the Ballman Declaration
attached as Exhibit 3, Mr. Hudson’s attorneys kept records of their time on an hourly basis. The
hourly rates set for Hogan & Hartson’s attorneys are shown in the chart attached as the last page
of Exhibit E to the Lerner Declaration. Ms. Ballman charged $275 per hour. (Ballman Decl. 11
5). Mr. Berkowitz did not retain a copy of his fee records in EEOC Proceeding 02-2394, but was
paid $1,000 for approximately seven hours of work. (Berkowitz Decl. 11 6; Hudson Decl. 1111 4-5).
Given the skills required in this case, the hourly rates charged by Mr. Hudson’s attorneys in this
matter are reasonable. (Chonin Decl. 11 8).

The rates also are reasonable considering the experience of the attorneys involved. (Id.).

Mr. Cheskin, the supervising attorney on this matter, has successfully litigated as lead counsel

 

3 The lodestar method presumptively includes the twelve factors set forth in Johnson v.
Georgia Hz'ghway Express, lnc., 488 F.2d 714, 717-19 (5th Cir. 1974). See Norman, 836 F.2d at
1299. Those factors include: (1) the time and labor required; (2) the novelty and difficulty of
the questions; (3) the skill requisite to perform the legal services properly; (4) the preclusion of
other employment by the attorney due to the acceptance of the case; (5) the customary fee; (6)
whether the fee is fixed or contingent; (7) time limitations imposed by the client or
circumstances; (8) the amount involved and the results obtained; (9) the experience, reputation,
and ability of the attorneys; (10) the “undesirability” of the case; (11) the nature and length of the
professional relationship with the client; and (12) awards in similar cases. These factors, to the
extent that they are relevant, are considered within the ensuing lodestar discussion. Ia'.

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numerous complex employment and commercial litigation matters during his nearly 20-year
career. (Lerner Decl. 11 6). Ms. Ramirez is a ninth-year attorney and is of counsel With Hogan
and Hartson. (Id.). Ms. Ramirez has practiced in the area of labor and employment law, as well
as general commercial litigation and international arbitration. (]d.). Mr. Lerner is an eighth-year
associate who also has practiced extensively in the area of labor and employment law. (Id. 11 3).
Mr. Kellogg is a fifth-year associate with Hogan & Hartson whose practice focuses on
commercial litigation. (Ia’. at11 6). Ms. Ballman is President of Donna Ballman P.A. in Ft.
Lauderdale and has practiced for more than 20 years, focusing on employment law. (Ballman
Decl. 11 3). She has been named one of the “Top South Florida LaWyers” by South Florida Legal
Guide based upon a survey of practicing local attorneys. (Id.). And Mr. Berkowitz is principal
shareholder of Mark J. Berkowitz P.A. in Ft. Lauderdale, and also has practiced for more than 20
years focusing on employment law. (Berkowitz Decl. 11 3).
2. The Hours Worked By Mr. Hudson’s Counsel Were Reasonable

Under Norman, once the Court makes a determination of the reasonable hourly rate, the
“next step in the computation of the lodestar is the ascertainment of reasonable hours.” Norman,
836 F.2d at 1301. In light of the extensive litigation involved in this matter, the hours expended
by counsel for Mr. Hudson in prosecution of this case were reasonable and proper.

As a preliminary matter, Mr. Hudson does not seek to recover for a significant amount of
time spent on this matter by various Hogan & Hartson timekeepers, all of which would be
reasonable given the voluminous records in this case (as demonstrated by the large exhibit
binders used at trial). (Chonin Decl. 11 5; Lemer Decl. 11 11). Mr. Hudson seeks only the fees of
his trial counsel and one paralegal. (Chonin Decl. 11 5; Lerner Decl. 11 11). Mr. Hudson does not
seek fees for certain timekeepers when those individual timekeepers did a minimal amount of
work on this matter or whose primary role was to research discrete issues. (Chonin Decl. 11 5;
Lerner Decl. 11 ll). With relatively few exceptions, Mr. Hudson does not seek fees for one

counsel’s review of another counsel’s work. (Chonin Decl. 11 5; Lemer Decl. 11 11). Where

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multiple timekeepers attended a single meeting or event, such as the July 20, 2006 mediation
before Magistrate Judge Palermo, Mr. Hudson seeks the fees of only one timekeeper at each
meeting. (Chonin Decl. 11 5; Lerner Decl. 11 11). Moreover, Hogan & Hartson has applied the
discounted rate (by 15%) that it charges not-for-profit entities. (Chonin Decl. 11 5 ; Lerner Decl. 11
12). In total, Mr. Hudson has voluntarily reduced the fees sought by $158,576.31, representing
25% of the total fees incurred in this matter. (Chonin Decl. 11 5; Lemer Decl. 11 12). In taking
this highly conservative approach to the amount of fees it seeks to recover, Mr. Hudson hopes to
avoid wasteful and unnecessary discovery and litigation over the issue of fees. (Chonin Decl. 11
5; Lerner Decl.11 13).

Attached to the Lerner Declaration at page 3 of Exhibit E is a chart summarizing the
Hogan & Hartson fees that Mr. Hudson does seek to recover. The chart includes the hours
expended by Mr. Hudson’s attorneys. Detailed time records summarizing the work performed
by each person are attached to the Lerner Declaration as Exhibit F. The attorneys and paralegal
working on this matter maintained contemporaneous billing records of the work they performed
and the hours worked. (Lerner Decl. 11 14). The attorneys have very carefully broken out their
time entries by individual task. (Id. 11 14). Attached to the Ballman Declaration is an invoice of
the $10,615 in attorneys’ fees relating to EEOC Proceeding 03-2487T. (Ballman Decl. Ex. C).
Ms. Ballman also maintained contemporaneous records. (Id. 11 8).

The amount of work is entirely reasonable given the nature of this matter. (See Chonin
Decl. 11 8). In EEOC Proceeding 03-2487T, Ms. Ballman spent 38.6 hours conducting written
discovery and preparing for and taking seven depositions, among other things. (Ballman Decl.
1111 7-8 and Ex. C). Although Mr. Berkowitz did not retain his fee records, he recalls Spending a
number of hours over the course of two days with Mr. Hudson regarding strategy and helping
with an affidavit in EEOC Proceeding 02-2394. (Berkowitz Decl. 11 6). Hogan & Hartson,
through the VLP, took this case on the eve of the District Court’s original June 12, 2006, trial

calendar. (Lerner Decl. 11 8; Chonin Decl. 11 6). After receiving a continuance but being ordered

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to respond to a pending summary judgment motion filed by Defendant, Mr. Hudson’s counsel
quickly pored over and digested thousands of pages of documents and familiarized themselves
with this case, which involved 10 separate claims and a large cast of potential witnesses. (Lerner
Decl. 118; Chonin Decl. 11 6). On September 14, 2006, Mr. Hudson defeated Defendants’
Summary Judgment,- and counsel promptly turned their attention toward trial, which was set for
October 31, 2006. (Lerner Decl. 11 8; Chonin Decl. 11 6). Mr. Hudson’s counsel proffered and
responded to a host of significant pretrial motions, retained an expert and conducted expert
discovery. (Lerner Decl. 11 8; Chonin Decl. 11 6). Mr. Hudson’s counsel then presented Mr.
Hudson’s case at a five-day trial before this court from November l-7, 2006 and obtained a $2.5
million jury verdict. (Lerner Decl. 11 8; Chonin Decl. 11 6). Mr. Hudson’s counsel also obtained
important injunctive relief that, among other things, prevents Defendant from providing negative
employment information to Mr. Hudson’s prospective employers. (Lerner Decl. 11 8; Chonin
Decl. 11 6).

Following trial, Mr. Hudson’s counsel researched, drafted and argued in opposition to a
host of post-trial motions filed by Defendant. (Lerner Decl. 11 9; Chonin Decl. 11 7). Although
the compensatory damages award was reduced by $1.2 million due to the statutory cap, in post-
trial litigation Mr. Hudson’s counsel was able to retain Mr. Hudson’s back pay award and a
portion of Mr. Hudson’s front pay award. (Lerner Decl. 11 9; Chonin Decl. 11 7). As the U.S.
Supreme Court has held, the most critical factor in determining a reasonable fee award is “the
degree of success obtained” - and “[w]here a plaintiff has obtained excellent results, his
attorney should recover a fully compensatory fee.” Hensley v. Eckerharl, 461 U.S. 424, 435-36
(1983).

At all times during the case the parties and respective counsel maintained a high level of
civility and professionalism. (Lerner Decl. 11 16). However, the case was extremely contentious,
and there were relatively few agreements or stipulations entered into between the parties

(although Mr. Hudson generally agreed to stipulations proposed by Defendant, Defendant for the

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most part rejected most stipulations proposed by Mr. Hudson). (Id.). Two mediations and one
post-trial settlement offer failed.

Mr. Chonin reviewed the billing detail for the attorneys’ fees and costs (through April 30,
2007) sought by Mr. Hudson. (Chonin Decl. 11 4). Based on his 45 years of experience in
employment law, Mr. Chonin opined that the amount of time spent by Mr. Hudson’s attorneys
was reasonable, and that the sum of $482,842.44 was a reasonable fee for the attorneys’ services
and related costs in this matter.4 (Ia’. 11 8).

3. Mr. Hudson Is Entitled to Fees Incurred by Its Paralegal

Mr. Hudson seeks to be reimbursed for work done by Hogan & Hartson’s paralegal in
this case, Erick Rodriguez (“Mr. Rodriguez”). Paralegal fees may be tallied as attomeys’ fees if
they are customarily billed separately to clients rather than being treated as part of overhead.
Missouri v. Jenkins, 491 U.S. 274, 285-87 (1989). The only constraint is that if the paralegal’s 1
work is purely “clerical,” then it should not be billed at paralegal rates but at some lower rate. 1
Id. at 288. The Supreme Court held that courts should “encourage the use of lower cost
paralegals rather than attorneys wherever possible” to foster “cost-effective delivery of legal
services.” Id. As is customary, Mr. Hudson’s attorneys billed Mr. Rodriguez’s time separately
to clients rather than treating it as overhead (Lerner Decl. 11 17). Mr. Hudson has removed
$2,042.13 in work conducted by Mr. Rodriguez prior to the September 20, 2006 status
conference before this Court, leaving $32,674 in paralegal fees to be recovered as attorneys’ fees
under Jenkl'ns. (Id.).

4. Mr. Hudson Is Entitled to Other Reasonable Expenses and Costs
Attributable as Attorneys’ Fees

As described below, Mr. Hudson seeks to recover the taxable costs he incurred pursuant

to 28 U.S.C. § 1920. To the extent, however, that certain reasonable billable costs and out-of-

 

4 Mr. Hudson also reserves the right to supplement his request in the future to seek

attorneys’ fees and costs incurred after April 30, 2007, including but not limited to additional
attorneys’ fees, expert witness fees and costs incurred to prosecute this Verified Motion.

 

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pocket expenses are not taxable by statute, they are recoverable as attorneys’ fees. See Allen v.
Freeman, 122 F.R.D. 589, 591 (S.D. Fla. 1988) (King, C.J.) (holding that attorneys’ fees awards
absorb most of the expenses that are not included in statutory costs or billable hours, and that
these “costs normally include[ ] postage, long distance calls, photocopying, travel, paralegals and
expert witnesses”); see also, e.g., Pinkham v. Camex, Inc., 84 F.3d 292, 294-95 (8th Cir. 1996);
La]j‘ey v. Northwesi Airlines, Inc., 746 F.2d 4, 30 (D.C. Cir. 1984). Reasonable out-of-pocket
expenses incurred by Mr. Hudson and his counsel in this litigation include the following:

¢ $7,301.73 for all photocopies not covered as “costs” under Section 1920 (see Part
III.B below). See Allen, 122 F.R.D. at 591. (Lerner Decl. 11 18(a));

¢ All travel expenses, provided the Court does not deem them taxable “costs” under
Section 1920 (see Part III.B below). See Allen, 122 F.R.D. at 591-92; see also
Moore v. Univ. ofNotre Dame, 22 F. Supp. 2d 896, 911-12 (N.D. lnd. 1998)
These include: $514.98 in travel expenses personally incurred by Mr. Hudson
for travel to Washington D.C. to depose Defendant’s witness Gary Lang while
Mr. Hudson was proceeding pro se (Hudson Decl. 11 7(a)); $41.60 in parking
fees he personally incurred to travel to the courthouse to file documents and
` attend hearings, mediation and trial and to meet With his attorneys (Ia’. 11 7(b));
and $287.62 in parking fees incurred by Hogan & Hartson attorneys traveling
to the courthouse for hearings, mediation and trial. (Lerner Decl. 11 18(b));

0 $946.49 in out-of pocket costs incurred by Mr. Hudson personally for supplies
necessary for printing, filing and serving documents while he was proceeding
pro se in the EEOC Proceeding and inthis case. (Hudson Decl. 11 7(c));

0 $526.44 for couriers and express mail services. See Pinkham, 84 F.3d at 294-95
(holding that messenger and express mail charges are reasonable out-of-
pocket expenses to be included as attorneys’ fees award). (Lerner Decl. 11.

18(€));
0 $10,571.52 for Westlaw and $84.80 for PACER electronic research charges.
Allen, 122 F.R.D. at 592 (“Computerized legal research is . . . generally

included as an out of pocket expenses in an attorneys’ fees award.”). (Lerner
Decl.11 18(d));

0 $111 for telecopy and facsimile charges. See Pinkham, 84 F.3d at 294-95
(holding that fax charges are reasonable out-of-pocket expenses to be included
as attorneys’ fees award). (Lerner Decl. 11 18(e));

0 $855.38 for postage charges. Allen, 122 F.R.D. at 591-92 (holding that postage
and FedEx costs are out-of-pocket expenditures recoverable in an attorneys’

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fees award) (Lerner Decl. 11 18(1)). This includes $26.92 in postage charges
incurred by Hogan & Hartson (Lerner Decl. 11 18(f)), and $828.46 in postage
charges personally incurred by Mr. Hudson While he was proceeding pro se in
the EEOC Proceeding and in this case. (Hudson Decl. 11 7(d));

0 $25 in other customary billable charges for word processing services. (Lerner
Decl. 11 18(g)); and '

0 $262 personally incurred by Mr. Hudson for the services of David Sullivan, the
mediator used during the first mediation on April 24, 2006 (Hudson Decl. 11

7(e)).

All of these charges were reasonably expended by Mr. Hudson and his counsel during the

prosecution of Mr. Hudson’s claims against Defendant, and therefore should be recoverable.
5. Mr. Hudson Is Entitled to Expert Fees

42 U.S.C. § 2000e-5 entitles Mr. Hudson to recover expert witness fees as part of his
attorneys’ fees. Mr. Hudson seeks a total of $53,700 in expert witness fees. (Lerner Decl. 11 19).
Mr. Hudson retained three expert witnesses in this case, Dr. Lanes, Dr. Wallace-Barnhill and Mr.
Argiz. (Id.). All three testified at trial. (Id.). Mr. Hudson seeks reimbursement for $l,800 in
fees relating to Dr. Lanes. (Id.). Although Dr. Lanes billed Mr. Hudson and Hogan & Hartson
for a one-hour pretrial conference and seven hours of trial time (totaling $3,600), Mr. Hudson
seeks reimbursement for only three of the trial-related hours (for travel and testimony time).
(Id.). Mr. Hudson incurred $1,000 in fees relating to Dr. Wallace-Barnhill for two hours of pre-
trial consultation and two hours of trial time. (Ia'.). And Mr. Hudson incurred $64,169.75 in fees
relating to damages expert Mr. Argiz, $14,169.75 (or 22%) of which was written off by Mr.
Argiz upon Hogan & Hartson’s request (Id.). Mr. Hudson seeks reimbursement only for the
remaining $50,000 in expert fees billed by Mr. Argiz. (Ia'.). Mr. Hudson also incurred $900 to
Defendant’s damages expert, Mr. Piette, for his October 24, 2006 deposition (Id.).

B. Mr. Hudson Is Entitled to His Reasonablv Necessarv Costs

Mr. Hudson also seeks to recover, pursuant to 28 U.S.C. § 1920, the taxable costs that he

and his counsel incurred prosecuting this case. Per Local Rule 7.3(C), Mr. Hudson has filed

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contemporaneously a bill of costs on form AOl33 of the Administrative Office of the United

States Courts.
Filing Fee. Pursuant to 28 U.S.C. § 1920(1), Mr. Hudson seeks reimbursement for the
original $250 filing fee in this case. (See Hudson Decl. 11 7(f)); see also Bill of Costs Ex. 1).

This fee was personally incurred by Mr. Hudson while he was proceeding pro se.

Court Reporter Fees. Mr. Hudson also seeks reimbursement for $8,605.54 in court _

reporters’ fees, including reimbursement for trial transcripts (See Bill of Costs Ex. 2). This
amount includes $5,641.10 in court reporters’ fees personally incurred by Mr. Hudson in the
EEOC Proceeding and while he Was proceeding pro se in this case, (Hudson Decl. 11 7(g)), and
$2,964.44 incurred by Hogan & Hartson. (Lerner Decl. 11 20(a)).

Witness Fee. Mr. Hudson seeks $320 in witness fees ($40 per witness) for the witnesses
appearing on Mr. Hudson’s behalf at trial: Mr. Hudson (5 days), Mr. Argiz, Dr. Lanes and Dr.
Wallace-Barnhill. See 28 U.S.C. § 1920(3) and 28 U.S.C. § 1821(b); see also Bill of Costs at 2.
Mr. Hudson also seeks reimbursement for mileage he personally incurred to and from the
courthouse (19.5 miles each way) at the statutory rate of $0.445 per mile, for a total of $86.78.
See 28 U.S.C. § 1821(c)(2). (Hudson Decl. 11 7(h)).

Photocopies. Mr. Hudson also is entitled to all photocopies “attributable to discovery,
copies of pleadings, correspondence, documents tendered to the opposing party, copies of
exhibits, and documents prepared for the Court’s consideration.” Fla. Keys Citizens Coalition,
Inc. v. U.S. Army Corps of Eng ’rs, 386 F. Supp. 2d 1266, 1270 (S.D. Fla. 2005) (Huck, J.). Mr.
Hudson does not seek reimbursement for the costs of those photocopies that he cannot attribute
with reasonable certainty, or that were made “only for the convenience of counsel.” Ia’. Rather,
Mr. Hudson seeks $5,451.80 in photocopies that were necessarily obtained for use in this case as
service copies of pleadings, part of discovery, document production or the creation of exhibit
binders for use by the Court and jury at trial. (Lerner Decl. 11 20(b); see also Bill of Costs Ex. 3).

Of these photocopies, $31 were incurred by Mr. Hudson personally to obtain a copy of his

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government file While he proceeded pro se. (Hudson Decl.-11 7(i)).

Loug-Distance Telephone Charges. Mr. Hudson seeks to recoup $30.44 for reasonable
long-distance telephone charges, most of which are related to the telephone deposition of Mr.
Piette on October 24, 2006. See Cullens v. Ga. Dep’t of Transp., 29 F.3d 1489, 1494 (11th Cir.
1994) (“Long distance telephone charges . . . are appropriate expenses under § 1920 to the extent
they are reasonable.”); see also Lemer Decl. 11 20(c); Bill of Costs Ex. 4.

Travel Expenses. Mr. Hudson also seeks to recoup $844.20 in travel expenses, including
$514.98 he personally incurred to travel to Washington D.C. to take the deposition of
Defendant’s Witness Mr. Lang. See Cullens, 29 F.3d at 1494 (“[T]ravel expenses are appropriate
expenses under § 1920 to the extent they are reasonable.”).5 (Hudson Decl. 11 7(a); see also Bill
of Costs Ex. 5). He also seeks $41.60 in parking fees he personally incurred personally to travel
to the courthouse to file documents and attend hearings, mediation and trial. (Hudson Decl. 11
7(b)). Mr. Hudson seeks $287.62 for parking fees incurred by Hogan & Hartson’s attorneys
When traveling to the courthouse for hearings, mediation and trial. (Lerner Decl. 11 20(d)).

CONCLUSION 7

For all the foregoing reasons, Mr. Hudson respectfully requests that his Verified Motion

for Award of Attorneys’ Fees, Expenses and Costs be granted and that Mr. Hudson be awarded

attorneys’ fees of $482,842.44, out-of-pocket expenses of $20,684.36 and taxable costs in the

 

° Although a recent Eleventh Circuit panel declined to award travel expenses under
Section 1920, that panel apparently was unaware of the Court of Appeals’ binding decision in
Cullens that travel expenses are recoverable under Section 1920. See Corwin v. Walt Disney
Co., 468 F.3d 1329, 1346 (1 lth Cir. 2006) (holding that 1984 district court case cited by Disney
did not support an award of travel expenses under Section 1920). Since a decision by an
Eleventh Circuit panel (such as the 1994 Cullens decision) can only be overturned by the Court
of Appeals sitting en banc, the Cullens decision is still good law. “[I]t is the firmly established
rule of this Circuit that each succeeding panel is bound by the holding of the first panel to
address an issue of law, unless and until that holding is overruled en banc, or by the Supreme
Court.” U.S. v. Hogan, 986 F.2d 1364, 1369 (llth Cir. 1993). Even ignoring Cullens and
assuming travel expenses could not be taxed as costs under Section 1920, Mr. Hudson may still
recoup these as out-of-pocket expenses through his attorneys’ fees petition (see Part III.A.4

above).

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amount of $15,588.68, for a total of $519,115.48. This request includes $10,000 in fees
personally incurred by Mr. Hudson to pay Ms. Ballman in the EEOC Proceedings, $1,000 in fees
to pay Mr. Berkowitz and $2,036.95 in out-of-pocket costs and $6,565.46 in taxable costs
personally incurred by Mr. Hudson prior to the retention of Hogan & Hartson as pro bono
counsel. It also includes $471,842.44 in fees, $18,647.41 in out-of-pocket expenses and
$9,023.22 taxable costs incurred by Hogan & Hartson from June 6, 2006 through April 30, 2007.
Mr. Hudson also respectfully requests that to the extent additional attorneys’ fees, expenses and
costs are incurred litigating the pending motions, including this Verified Motion, or other issues
that may arise, Mr. Hudson be allowed to amend this Verified Motion to request those additional
fees and costs. Mr. Hudson does not believe that hearing is necessary on issues raised by this
verified petition and does not request one.
CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.3(A)

1 HEREBY CERTIFY that 1 conferred with counsel for Defendant in an effort to resolve
the issues presented in Plaintiff"s Verified Motion to Award Attorneys’ Fees, Expenses and
Costs, but that the parties were unable to reach an agreement

Respectfully submitted,

s/ Jason Kellogg

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VERIFICATION
Under the penalties of perjury, I declare that I have read the foregoing motion and that, to

the best of my knowledge, the facts stated in it are true.

s/ Brian Lemer
Brian Lerner

CERTIFICATE OF SERVICE

I hereby certify that on June 1,~ 2007, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record identified on the attached Service List in the manner
specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filing.

s/ Jason Kellogg
Jason Kellogg

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SERVICE LIST
Hudson v. Chertoff
Case No. 05-60985-Civ-Graham/O’Sullivan
United States District Court, Southern District of Florida

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